Form TRANSC

                                    UNITED STATES BANKRUPTCY COURT
                                      California Northern Bankruptcy Court

In re Debtor(s):                                                        Case No.: 19−30088 DM 11
                                                                        Chapter: 11
PG&E Corporation



                              NOTICE OF FILING OF TRANSCRIPT
                    AND DEADLINES RELATED TO RESTRICTION AND REDACTION




A transcript of the proceeding held on February 24, 2021 at 10:00 AM was filed on February 25, 2021. The following
deadlines apply:

The parties have until Thursday, March 4, 2021 to file with the court a Notice of Intent to Request Redaction of this
transcript. The deadline for filing a request for redaction is Thursday, March 18, 2021.

If a request for redaction is filed, the redacted transcript is due Monday, March 29, 2021.

If no such notice is filed, the transcript may be made available for remote electronic access upon expiration of the
restriction period, which is Wednesday, May 26, 2021, unless extended by court order.

To review the transcript for redaction purposes, you may purchase a copy from the transcriber,

Jason Gottlieb
Attn: Jason Gottlieb, Dir. of Tran. Ops.
7227 N 16th St. #207
Phoenix, AZ 85020

or you may view the document at the clerk's office public terminal.




Dated: 3/1/21                                      For the Court:


                                                   Edward J. Emmons
                                                   Clerk of Court
                                                   United States Bankruptcy Court




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